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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
                        NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                          U.S. EXHIBIT NO. 10-F
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                                           FEMA10-000251

                                                                      U.S. Depnrtmeni of Homelnnd Security
                                                                      Washington, DC 20472




September 8, 2005



Dear Vendors:

This letter is a Request for Quotations, number HSFEFIQ-05-Q-4000, for manufactured homes fil
accordance with the attaclled specifications. Your quote must contain a price per unit, a price p.er
mile for delivery of units (exclusive of fuel costs), and your best possible (but realistic) production
and delivery schedule. You must also submit detailed specifications and a floor plan for the unit you
are proposing. Fuel costs wil! be reimbursed based on actual costs supported by receipts. Quotes
shall be evaluated based on price and delivery which are of equal importance. The Government
intends to make multiple awards from this solicitation. Resulting contracts wiI1 be of an Indefinite
Delivery, I_ndeftnite Quantity basis and shall include all applicable commercial contract clauses and a
Liquidated Damages clause allowing for a $60 per unit deduction for each day a unit is late
according to the accepted production and delivery schedule.

Quotes are to be e-mailed to Jonathan Gibb at jonathan.gibb@dhs.zov, and are due by 3 p.m. eastern
time Friday September 9,2005. If any exceptions are being taken to the specifications provided; you
must specify these with your quotation.

Sincerely,


Bryan MeCreai~
Contracting ~~Offieer
                         ~/ ....




                                                                      www.rema.gov
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__                                             FEMA10-000252




     ..Zon’ing Reqtdre.ments.’ S.tmctural design, to. be incorporated into each unit.         . ......

     Roof Load Zone:                Middle
     Thermal (U/O) Zone:           2
     Wind Zone:                    3
     Struetura! Design ,            Must"be built for mtd~ip.le installations and re~oval~.
     Size ai~d.Cbnfigurafion
     TYPe,                        ¯ Model: FEMA All-Electric Mgnu~faotured Home
     Exterior Leng~.h
     Exterior Width                14. fit (box w!dth)
     Electrical System - ~"        200 A. Electribal panel is i0~ted in.the back bedroom on the
                                   right.wall behind the bedroom door.            ...
     Electrical System - Volts     120/240 V
     Furnishing                    Futly F.urnished. and dinette Set (table and chairs) built for six.
                                   Absolutely n,o 0arpet in the unit: ........
     Bedrooms                      3 (Each bedroom desigt!ed for 2 people) Fully .furnished.
     Bathroom                      1
     Refrigerator                  yes, ,! 8. cubic FO0i Frost Free withlireezer , ,,
     Range and Ov~,n            Yes,,e,!,ectrlc ......
     Washer and Dryer Capacity .yes, washer and..O.ryer not indluded.
     Air Conditioner           .... yes: electric, cen~al air (Ng:window units) ..................
     FllrFlace                  Yes; electric
     Microwave                  Yes t.2 cubic foot with child leek
     Water Heater ............  Yes, Electric, 40 Gal (dual element) quick recovery and I0eated
                                behind the Idtohen and bathroom. Not behind bedroom wall.
     Exterior.. overing         Vinyl siding(Color: white or off-white)
     Smoke Detector             Yes., electric w/battery-back-up (all bedrooms, living room’,
                                kitchen, bathroom, and hallw.ays) ....................
     Fire Extinguisher          Yes ¯
     Floor Plan                 Each home must usethe following basio’flo0rplan. Beginning
                                with the front of the unit and working toward the rear, the layout
                                shall be:

                                       ¯ Bedroom #3: Size: 8x13 Approximate
                                       o Bedroom #2: Size: 7x9 Approximate
                                       ¯ Living:Room
                                       ¯ Kitchen/Dining Room
                                       o ,Furnace/Water Heater/Plumbing Chase
                                       ¯ Laundry/Bathroom
                                       ¯ Bedroom (Master): Size: 9x13 Approximate

                                   Note: All hallways shall be 42"wide and all doorways 36" wide.
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                                                                                          FEMA10-000253


                                                                                                                                                                                          PAGE 1 OF 19
             SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                                1. REQUISITION NO,                           BPA NO.




                                                                                                                                                                        t
               OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30                                                                 NN00364¥2005’2
                                                                                                                             5. SOUDITATION NO.


 ", FOR SOLICITATION                                                                                                         b. "V~LEPRONE NO.
    INFO~ATION CALL:                          [     Jonathan Gibb                                                            202-646-3523                                   TIME ASAP

  ~SUED BY                                                                  C~E ’~             10, THIS A~UIS~ION IS
    Depa~ea~ o£ ~o~e&a~d Secuz~ty/~S~                                                 =            ~ UNRESTRI~EDOR               ]         SET ASIDE:           %FOR;
                                                                                                                                       "-]SMALL BUSINESS                        EMERGING SMALL BUStNEI
    Fin~nc~a~ ~ Ac~isit~on Manag~ent                                                                                                                                            BU~,INE~
    500 C Street, SW, Room 350                                                                                                        [~      HUBZONE SMALL
    Washington DC 20~72                                                                            ~I~              336214                    BUSINESS
                                                                                                   SIZE STANDARD:
                                                                                                                                              OWNED SMALL BUSINESS
 1. DEUVERYFOR FOB DESTINAo                       12. DISCOUNTTBRMS                                                                               13b. RATING
                                                    ~/A                                        ]       13~ THIS CONTRACT tS A
                                                                                                           RATED ORDER UNDER
                                                                                                           SPAS (15 CFR                              METHOD OF SOLICITATION
   ] BEESCHEDULE

 S. DEUVERTO                                                                CODE                                                                                              CODE

                                                                                                       Department of Homeland Security/FEMA
    TBD                                                                                                ~ederal Bmergency Management Agency
                                                                                                       Financial & Acquisition Mangement
                                                                                                       500 C Street, SW, Room 350
                                                                                                       Washington DC 20472
    CONTRACTOR,OFFEROR          CODE                                FACILITYCODE ’1            18a. PAYMENT W~LL BE MADE                                                      CODE


    DOTHAN MANOFACTORED HONES,                    LLC                                                  Department of Homeland Security/FEMA
                                                                                                       Disaster Finance Center
                                                                                                       Attn: Vendor Payments
    5125 MONTGOMERY HWY                                                                                9.0, Box B00
                                                                                                       Berryvil!e VA 22611
   DOTHAN AL 363031553
 ELEPHONENO,
                                                                                              [18b. SUBMITINVOICESTOADDRESSSHOWNIN BLOCK18aUNLESSBLOCKBELOWlS CHECKED
¯ "~ 1To. CHECY~. IF REM|’UrA~,DE |S DIFFERENT AND PUT SUCH ADDRESS iN OFFER                                              --]SEEADDENDUM

       19.                                                         20.   See CONTINOATION Page                          21.                 22,                23.                         24.
                                                                                                                      QUANTITY                             UNIT PRISE                    AMOUNT

                  The contractor shall provide five hundred (500)
                  ~4ft, x 60~t. Mobile Homes in accordance with the attached
                  specifications, schedule, and cost schedule.
                  The delivery location is to be determined by a F~MA
                  Logistics representitive.
                  The contractor shall perform in accordance with the attached
                  delivery schedule.
                  The contractor shall provide two (2) copies of the
                  bill of lading for each individual unit ordered hereunder.
                  The bill. of lading shal! include, but not be limited to,
                  the following;
                  Contract Number, Contractor Name, Make/Model, and Uni~ VIN#.
                  These units should be titled to "FEMA".
                  ~LEASE FOLLOW ~NSTROCTIO~S IN PART C.5 KEGFJ~DING SUBMISS~O~
                  OF INVOICES.
                  THE INVOICE WiLL NOT BE PAID WITHOUT RECEIPT OF THE
                  ORIGINAL CERT~FICATZ OF O~GIN!TITLEo

                  Delivery o~ the units shall be completed by 12-1-2005
                  THIS IS A CONFIRMING ORDER DONUT DUPLICATE


                      (Use Revorse and/or A(lach Additional Sh~.,.s a= Necessary.!.
   ACCOUNT~NGANDAPPROPRIATIONOATA See CONTINUATION Page                                                                                                26. "~OTAL AWARD AMOUNT (For Govt Use Only)
                                                                                                                                                                             $11,650,00.0.00
    27e. SOLICITATION INCORPORAT]£S BY REFERENCE FAR 52 212-1. 52,212-4. FAR 52.21:~-3 AND 5Z212-EAREATTACHED, ADDENDA               "[~]’ARE [-’tARE NOT ATrACHEDo

    27b, CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52,212-4. FAR 5:Z.212-5 IS A~-[ACHES. ACDENOA                 [~ARE [~ ARE NOT ATTACHED
   CONTRAGTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RE,TURN              COPIES                    ] 29. AWARD OF CONTRAC’~, REFERENCE                                 OFFER
    TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND DELIVER ALL ITEMS SET                                                                 YOUR OFFER ON ~OIJCITATION (BLOCK
                                                                                                  ]1-’~ DATED ..............
  ] FORTH OR OTHERWISE IDENTIRED ABOVE AND ON ANY ADDITIONAL SHEETS SUBJECT TO                    IL._~ 5). ~NCLUOING ANY ADDITIONS OR CHANGES WHICH ARE SE~" FORTH
    THE TERMS AND CONDITIONS SPECIFIBD
                                                                                                  I HEREIN tS ACCEPTED AS ";O ITEMS:
  . SIGNATURE OF OFFEROR/CONTRACTOR                                                           31a. UNITED STATES OF AMERICA (SIGNATURE OF CONTRACTING OFFICER)


   ¯ NAME AND TITLE OF SIGNER (TYPE OR PRINT)                               DATE SIGNED       31b. NAME OF CONTRACTING OFFICER (TYPE OR PRINT)                                ] 31~ DATE SIGNED
                                                                                                      Brya~ S. HcCceary
                                                                                                      Contractinq ¯Officer
  "HDRIZEQ FOR LOCAL REPRODUCTION                                                                                                             STANDARD FORM ~449 (R~V. 3t200b~
  ~V~OUS EDTriON IS NOT USABL~                                                                                                                Prescribed by GSA ¯ FAR (48 CFR) 53,,ZlZ
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       SECTION B - CONTINUATION BLOCK



B.1 PRICE/COST SCHEDULE


ITEM       DESCRIPTION OF            QTY UNIT                 UN!T                 AMOUNT
NO.        SUPPLIES/SERViCES                                  PRICE

0001                            500.00    Each             $19,800.00    $9,900,000.00
           14ft. x 60ft. Mobile homes
           FUNDING/REQ NO:     i: $9,900,000.00        NN00364Y2005T

0002                              1.00 Lot              $1,750,000.00    $I, 750,000.00
           DeliVery $i.75 per mile plus gas (not
           to exceed amount)
           FUNDING/REQ NO:    i: $1,750,000.00         NN00364Y2005T


                                          GRAND TOTAL                   $ii,650,000.00


ACCOUNTING AND APPROPRIATION DATA:

ACRN APPROPRIATION                            REQUISITION NUMBER                  AMOUNT
   I 2005-06-1603DR-9064-       -31~9-D       NN00364Y2005T             $II, 650,000 . 00




                                                                                 B-I
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                                              HSFEttQ-05-C-4337                                     SECTION C

         SECTION C- CONTRACT CLAUSES


 C.1 52.252-2 CLAUSES INCORPORATED BY REFE~NCE (FEB 1998)

  This contract incorporates one or more clauses by reference, with the same force and effect as if they were given in full
text. Uport request, the Contracting Officer will make their full text available. Also, the full text era clause may be
accessed electronically at this/these address(es):

http://www.arnet.gov/far

      52.23 3-4               Applicable Law for. Breach of Contract                         OCT 2004
                              Claim

 C.2 52.211-11 LIQUIDATED DAMAGES -SUPPLIES, SERVICES, OR
      RESEARCH AND DEVELOPMENT (SEPT 2000)

 (a) If the Contractor fails to deliver the supplies or perform the services within the time specified in this contract, the
Contractor shall, in place of actual damages, pay to the Government liquidated damages of $60.00 per unit per calendar
day of delay.

  (b) If the Government terminates this contract in whole or in part under the Default-Fixed-Priee Supply and Service
clause, the Contractor is liable for lictuidated damages accruing until the Government reasonably obtains delivery or
performance of similar supplies or services. These liquidated damages are in addition to excess costs of repurchase under
the Termination clause,

  (c) The Contractor will not be charged with liquidated damages when the delay in delivery or performance is beyond the
controland without the fault or negIigence of the Contractor as defined in the Default-Fixed-Price Supply and Service
clause in this contract.
 C.3 52.212-5 CONTRACT TERMS AND CONDITIONS REQU/RED TO
        IMPLEMENT STATUTES OR EXECUTIVE ORDERS--COMMERCIAL
        ITEMS (JUL 2005)
  (a) The Contractor shall comply with the following Federal Acquisition Regulation (FAR) clauses, which are
incorporated in this contract by reference, to implement provisions of law or Executive orders applicable to acquisitions of
commercia! items:

   (1)52,233-3, Protest after Award (AUG 1996) (3! U.S.C, 3553).

   (2)52,233-4, Applicable Law for Breach of Contract Claim (OCT 2004) @ub. L. 108-77, 108-78)

  (b) The Contractor shall comply with the FAR clauses in this paragraph (b) that the Contracting Officer has indicated as
being incorporated in this eorttraot by reference to impIement provisions of law or Executive orders applicable to
acquisitions of commercial items: [Contracting Officer check as appropriate.]

   [] (I) 52.203-6, Restrictions on Subcontractor Sales to the Government (JUL 1995), vAth Alternate I (OCT 1995)(41
U.S.C. 253g and I0 U.S.C. 2402).

   [] (2) 52.219-3, Notice of Total HUBZone Set-Aside (JAN 1999) (15 U,S.C. 657a).

   [] (3) 52.219-4, Notice of Price Evaluation Preference for HUBZone Small Business Concerns (JUL 2005) (if the
offeror elects to waive the preference, it shall so indicate in its offer) (15 U.S.C, 657a).
                                                                                                              C-1
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                                              HSFEI:IQ-05-C-4337                                  SECTION C

  ~ (4) (i) 52.219-5, Very Small Business Set-Aside (JUNE 2003) (Pub. L. 103-403, section 304, Small Business
Reauthorization and Amendments Act of 1994).

   [] (ii) Alternate I (MAR 1999),of 52.219-5.

   [] (iii). Alternate II (JUNE 2003) of 52.219-5.

   [] (5)(i) 52.219-6, Notice 0fTotal Small Business Set-Aside (JUNE 2003) (I 5 U.S.C. 644).

   [] (ii) Alternate I (OCT 1995) of 52.219-6.

   [_](iii) Alternate II (MAR 2004) of 52.219-6.

   [-](6)(i) 52.219-7, Notice of Partial Smal!. Business Set-Aside (JUNE 2003) (!5 U.S.C. 644).

   0 (ii) Alternate I (OCT 1995) of 52.219-7.
   [] (iii) Aitemate II (MAR 200z~) of 52.219-7.

   [] (7) 52.219-8, Uiilization of Small Business Concerns (MAY 2004) (15 U.S.C. 637 (d)(2) and (3)).
   [] (8)(i) 52.219-9, Small Business Subcontracting Plan (JAN 2002) (15 U.S.C. 637(d)(4)).

   [] (ii) Alternate I (OCT 2001) of 52.21%9.

   [] (iii) Alternate II (OCT 2001) of 52.219-9.
   []. ~9) 52.219-14, Limitations on Subcontracting (DEC 1996) (15 U.S.C. 637(a)(14)).

    ~ (10)(i) 52.219-23, Notice of Price Evaluation Adjustment for Small Disadvantaged Business Concerns (JtJL 2005)
(Pub. L. 103-355, section 7102, and 10 U.S.C. 2323) (if the offeror elects to waive the adjustment, it shall so indicate in
its offe0.

   [_] (ii) Alternate I (JUNE 2003) of 52.219-23.
   [] (iii) Alternate It (OCT 1998) of 52.219-23.

  [] (11) 52.219-25, Small Disadvantaged Business Participation Program--Disadvantaged Status and Reporting (OCT
1999) (Pub. L. 103-355, section 7102, and 10 U.S.C. 2323).
   [] (12) 52.219-26, Small Disadvantaged Business Participation Program-Incentive Subcontracting (OCT 2000) (Pub.
L. 103-355, section 7102, and 10 U.S.C. 2323).
  [] (i 3) 52.219-27, Notice of Total Service-Disabled Veteran-Owned Small Business Set-Aside.(May 2004)

  [] (14) 52.222-3, Convict Labor (JUNE 2003) (E.O. t 1755).
  [] (15) 52.222-I 9, Child Labor--Cooperation with Authorities and Remedies (JUN 2004) (E.O. 13126).

  [X] (16) 52.222-21, Prohibition of Segregated Facilities (FEB 1999).

  IX] (17) 52.222-26, Equal Opportunity (APR 2002) (E.O. 11246).
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  [] (18) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era, and Other Eligible
Veterans (DEC 2001) (38 U.S.C. 4212).

   [] (I 9) 52,222-36, Affirmative Action for Workers with Disabilities (JUN 1998) (29 U.S.C. 793).
   [] (20) 52.222-37, Employment Reports on Special Disabled Veterans, Veterans of the Vietnam Era, and Other
Eligible V’eterans (DEC 2001) (38 U.S.C. 4212).

   [_] (21)52.222-39, Notification of Employee Rights Concerning Payment oflJnion Dues or Fees (DEC 2004) (E.O.
13201).

   [] (22)0) 52.223-9, Estimate of Percentage of Recovered Material Content for EPA-Designated Products (AUG 2000)
(42 U.S.C. 6962(c)(3)(A)(ii)).

   [] (ii) Alternate I (AUG 2000) of 52.223-9 (42 U.S.C. 6962(i)(2)(C)).
   [] (23) 52.225-1, Buy American Act--Supplies (JUNE 2003) (41 U.S.C. 10a-!0d).

  [] (24)(0 52.225-3, Buy American Act--Free Trade Agreements-- Israeli Trade Aot (JAN 2005) (41 U.S.C. 10a-10d,
19 U.S.C. 3301 note, 19 U.8.C. 2112 note, Pub. L. I08-77, 108-78, 108-286).

  [] (ii) Alternate I (JAN 2004) of 52.225-3.

  [] (iii) _Alternate II (JAN 2004) of 52.225-3.

   [] (25) 52.225-5, Trade Agreements (JAN 2005) (19 U.S.C. 2501, et seq., 19 U.S.C. 3301 note).

  [] (26) 52.225-13, Restrictions on Certain Foreign Purchases (MAR 2005) (E.O.s, proclamations, and statutes
administered by the Office of Foreign-Assets Control of the Department of the Treasury),

   IX] (27) 52.225-15, Sanctioned European Union Country End Products ffEB 2000) ~.O. 12849).

   [] (28) 52.225-! 6, Sanctioned European Union Country Services ~EB 2000) (E.O. 12849).

   [-] (29) 52.232-29, Terms for Financing of Purchases of Commercial items (FEB 2002) (41 U.S.C. 255(0, I0 U.S.C.
2307(f)).

   [] (30) 52.232-30, Installment Payments for Commercial Items (OCT 1995) (41 U.S.C. 255(0, 10 U.S.C. 2307(0).

   IX] (31) 52.232-33, Payment by Electronic Funds Transfer-Central Contractor Registration (OCT 2003) (31 U.S.C.
3332).
   [] (32) 52.232-34, Payment by Electronic Funds Transfer--Other than Central Contractor Registration (MAY 1999) (3 !
U.S.C. 3332).
   [] (33) 52.232-36, Payment by Third Party (2VlAY !999) (31 U.S.C. 3332)..

  [] (34) 52.239-1, Privacy or Security Safeguards (AUG 1996) (5 U.S.C. 552a).

   [] (35)0) 52,247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (APR 2003) (46 U.S.C. Appx
t.24! and 10 U.S.C. 2631).

  [] (ii) Alternate I (APR 2003) of 52.247-64.

                                                                                                       C-3
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                                            HSFEHQ-05-C-4337                                 SECTION C
 (c) The Contractor shall comply with the FAR clauses in this paragraph (c), applicable to commercial services, that the
Contmct~g Officer has indicated as being incorporated in this contract by reference to implement provisions of law or
Executive orders applicable to acquisitions of commercial items: [Contracting Officer check as appropriate.]

   [] (1) 52.222-41, Service.Contract Act of I965, as Amended (JUL 2005) (41 U.S.C. 351, et seq.).

   [] (2) 52.222-42, Statement of Equivalent Rates for Federal Hires (MAY 1989) (29 U.S.C. 206 and 41 U.S.C. 351, et
seq.).

  [] (3) 52.222-43, Fair Labor Standards Act and Service Contract Act--Price Adjustment (Multiple Year and Option
Contracts) (MAY 1989) (29 U.S.C. 206 and 41 U.S.C. 35l, et seq.).

   [] (4) 52.222-44, Fair Labor Standards Act and Service Contract Act--Price Adjustment ~ebruary 2002) (29 U.S.C.
206 and 41 U.S.C. 351, et seq.).

   [] (5) 52.222-47, SCA Minimum Wages and Fringe Benefits Applicable to Successor Contract Pursuant to
Predecessor Contractor Collective Bargaining Agreements (CBA) May 1989) (41 U.S.C. 35l, et seq.).

   (d) Comptroller General Examination of Record. The Contractor shall comply with the provisions of this paragraph (d).
if this contract was awarded using other than sealed bid, is in excess of the simplified acquisition threshold, and does not
contain the clause at 52.215-2, Audit and Records--Negotiation.

  (I) The Comptroller General of the United States, or an authorized representative of the Comptroller General, shall
have access to and right to examine any of the Contractor’s directly pertinent records involving transactions related to this
contract.

   (2) The Contractor shall make available at its offices at all reasonable times the records, materials., and other evidence
for examination, audit, or reproduction, until 3 years after final payment under this contract or for any shorter period
specified in FAR Subpart 4.7, Conla’aetor Records Retention, of the other clauses of this contract, If this contract is
completely or partially terminated, the records relating to the work terminated shall be made available for 3 years after
any resulting final termination settlement. Records relating to app.eals under the disputes clause or to litigation or the
settlement of claims arising under or relating to this contract shall be made available until such appeals, litigation, or
claims are finally resolved.

   (3) As used in this clause, records include books, documents, accounting procedures, and practices, and other data,
regardless of type and regardless of form. This does not require the Contra0tor to create or maintain any record that the
Contractor does not maintain in the ordinary course of business or pursuant to a provision of law.

  (e)(l) Notwithstanding the requirements of the clauses in paragraphs (a), (b), (e), and (d) of this clause, the Contractor is
not required to flow down any FAR clause, other than those in paragraphs (i) through (vi) of this paragraph in a
subcontract for commercial items. Unless otherwise indicated below, the extent of the flow down shall be as required by
the clause-

    (i) 52.219-8, Utilization of Small Business Concerns (May 2004) (15 U,S.C. 637(d)(2) and (3)), in all subcontracts
that offer further subcontracting opportunities. If the subcontract (except subcontracts to small business concerns) exceeds
$500,000 ($1,000,000 for construction of any public facility), the subcontractor must include 52.219-8 in lower tier
subcontracts thatoffer subcontracting opportunities.

    (ii) 52.222-26, Equal Opportunity (April 2002) (E.O, 11246).

    (iii) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era, and Other Eligible
Veterans (Dee ember 2001) (38 U.S.C. 4212).

    (iv) 52.222-36, Affirmative Action for Workers with Disabilities (June 1998) (29 U.S.C. 793).
                                                                                                              C-4
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                                              HSFEHQ-05-C-4337                                     SECTION C

    (v) 52.222-39, Notification of Employee Rights Concerning Payment of Union Dues or Fees (DEC 2004) (E.O.
13201).
    (vi)52.222-41, Service Contract Act of 1965, as Amended (JUL 2005), flow down required for all subcontracts
subject to the Service Contract Act of t965 (41 U.S.C. 351, et seq.).

    (vii) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (April 2003) (46 U.S.C. Appx I241
and 10 U.S.C. 2631). Flow down required in accordance with paragraph (d) of FAR clause 52.247-64.

   (2) While not required, the contractor May include in its subcontracts for commercial items a minimal number of
additional clauses necessary to satisfy its contractual obligations.




 C.4 52.232-25 PROMPT PAYMENT (OCT 2003)
  Notwithstanding any other payment clause in this contract, the Government will make invoice payments under the terms
and conditions specified in this clause. The Government considers payment as being made on the day a check is dated or
the date of an electronic funds transfer (EFT). Definitions of pertinent terms are set forth in sections 2.101, 32.00 I, and
32.902 of the Federal Acquisition Regulation. All days referred to in this elause are calendar days, unless otherwise
specified. (I-Iowever, see paragraph (a)(4) of this clause conceming payments due on Saturdays, Sundays, and tega!
holidays.)

  (a) Invoice payments--

   (1) Due date.
    (i) Except as indicated in paragraphs (a)(2) and (c) of this clause, the due date for making invoice payments by the
designated payment office is the later of the following two events:

     (A) The 30th day after the designated billing office receives a proper invoice from the Contractor (except as
provided in paragraph (a)(1)(ii) of this clause).

     (B) The 30th day after Government acceptance of supplies delivered or services performed. For a final invoice,
when the payment amount is subject to contract settlement actions, acceptanceis deemed to occur on the effective date of
the contract settlement.

    (ii) If the designated billing office fails to annotate the invoice with the actual date of receipt at the time of receipt, the
invoice payment due date is the 30th day after the date of the Contractor’s invoice, provided the designated billing office
receives a proper invoice and there is no disagreement over quantity, quality, or Contractor compliance with contract
requirements.

   (2) Certain food products and other payments.

    (i) Due dates on Contractor invoices for meat, meat food products, or fish; perishable agricultural commodities; and
dairy products, edible fats or oils, and food products prepared from edible fats or oils are--

      (A) For meat or meat food products, as defined in section 2(a)(3) of the Packers and Stockyard Act of 1921 (7
U.S.C. 182(3)), and as further defined in Pub. L. 98-181, ineluding any edible fresh or frozen poultry meat, any perishable
poultry meat food product, fresh eggs, and any perishable egg product, as close as possible to, but not later than, the 7th
day after product delivery.

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    (B) For fresh or frozen fish, as defined in section 204(3) of the Fish and Seafood Promotion Act of 1986 (16 U.S.C.
4003(3)), as close as possible to, but not later than, the 7th day after product delivery.

     (C) For perishable agricultural commodities, as defined in section 1(4) of the Perishable Agricultural Commodities
Act of I930 (7 U.S.C. 499a(4)), as close as possible to, but not later than, the 10th day after product delivery, unless
another date is specified in the contract.

      (D) For dairy products, as defined in section 11 l(e) of the Dairy Production Stabilization Act of 1983 (7 U.S.C.
4502(e)), edible fats or oils, and food products prepared from edible fats or oils, as close as possible to, but not later than,
the 10th day after the date on which a proper invoice has been received. Liquid milk, cheese, certain processed cheese
products, butter, yogurt, ice cream, mayonnaise, salad dressings, and other similar products, fall within this classification.
Nothing in the Act limits this classification to refrigerated products. When questions arise regarding the proper
classification of a specific product, prevailing industry practices will be followed in specifying a contract payment due
date. The burden of proof that a classification of a specific product is, in fact, prevailing industry practice is upon the
Contractor making the representation.

    (ii) If the contract does not require submission of an invoice for payment (e.g., periodic lease payments), the due date
will be as specified in the contract.

   (3) Contractor’s invoice. The Contractor shall prepare and submit invoices to thedesignated billing office specified in
the contract. A proper invoice must include the items listed in paragraphs (a)(3)(i) through (a)(3)(x) of this clause. If the
invoice does not comply with these requirements, the designated billing office will return it within 7 days after receipt (3
days for meat, meat food products, or fish; 5 days for perishable agricultural commodities, dairy products, edible fats or
oils, and food products prepared from edible fats or oils), with the reasons why it is not a proper invoice. The Government
will take into account untimely notification when computing any interest penalty owed the Contractor.

    (i) Name and address of the Contractor.
   (i.i) Invoice date and invoice number. (The Contractor should date invoices as close as possible to the date of the
mailing or transmission.)
    (iii) Contract number or other authorization for supplies delivered or services performed (including order number and
contract line item number).

    (iv) Description, quantity, unit of measure, unit price, and. extended price of supplies delivered or services performed.

    (v) Shipping and payment terms (e.g., shipment number and date of shipment, discount for prompt payment terms).
Bill of lading number and weight of shipment will be shown for shipments on Government bills of lading.

     (vi) Name and address of Contractor official to whom payment is to be sent (must be the same as that in the contract
or in a proper notice of assignment).

    (vii) Name (where practicable), title, phone number, and mailing address of person to notify in the event of a
defective invoice.

    (viii) Taxpayer Identification Number (T]2~r). The Contractor shall include its TIN on the invoice only if required
elsewhere in this contract.
    (ix) Eteclronic funds transfer (EFT) banking information.

     (A) The Contractor shall include EFT banking information on the invoice only if required elsewhere in this contract.


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      03) If EFT banking information is not required to be on the invoiee~ in order for the invoice to be a proper invoice,
 the Contractor shall have submitted correct EFT banking information in accordance with the applicable solicitation
 provision (e.g., 52.232- 38, Submission of Electronic Funds Transfer Information with Offer), contract clause (e.g.,
 52.232-33, Payment by Electronic Funds Transfer--Central Contractor Registration, or 52.232-34, Payment by Electronic
 Funds Transfer--Other Than Central Contractor Registration), or applicable agency procedures.

      (C) IEFF banking information is not required if the Government waived the requirement to pay by EFT.

     (~) Any other information or documentation required by the contract (e.g., evidence of shipment).

  . (4) Interest penalty, The designated payment office will pay an interest penalty automatically, without request from the
Contractor, if payment is not made by the due date and the conditions listed in paragraphs (a)(4)(i) through (a)(4)(iii) of
this clause are met, if applicable. However, when the due date falls on a Saturday, Sunday, or legal holiday, the designated
payment office may make payment on the following working day without incurring a late payment interest penalty.

     (i) The designated billing office received a proper invoice.

    (ii) The Government processed a receiving report or other Government documentation authorizing payment, and there
was no disagreement over quantity, quality, or Contractor compliance with any contract term or condition.

    (iii) In the case of a final invoice for any balance of funds due the Contractor for supplies delivered or services
performed, the amount was not subject to further contract settlement actions between the Government and the Contractor.

  (5) Computing penalty amount. The Govemment will compute the intei’est penalty in accordance with the Office of
Management and Budget prompt payment regulations at 5 CFR part 1315,

     (i) For the sole purpose of computing an interest penalty that might be due the Contractor, Government acceptance is
deemed to occur constructively on the 7th day (unless otherwise specifi.ed in this contract) after the Contractor delivers the
supplies or performs the services in accordance with the terms and conditions of the contract, unless there is a
disagreement over quantity, quality, o~: Contractor compliance with a contract provision. If actual acceptance occurs
within the constructive acceptance period, the Government will base the determination of an interest penalty on the actual
date of acceptance. The constructive acceptance requirement does not, however, compel Government officials to accept
supplies or services, perform contract administration functions, or make payment prior to fulfilling their responsibilities.

     [ii) The prompt payment regulations at 5 CFR 1315.10(c) do not require the Government to pay interest penalties if
payment delays are due to disagreement between the Government and the Contractor over the payment amount or other
issues invol.ving contract compliance, or on amounts temporarily with_held or retained in accordance with the terms of the
contract. The Government and the Contractor shall resolve claims involving disputes and any interest that may be payable
in accordance with the clause at FAR 52.233-1, Disputes.

   (6) Discounts for prompt payment. The designated payment office will pay an interest penalty automatically, without
request from the Contractor, if the Government takes a discount for prompt payment improperly. The Government will
calculate the interest penalty in accordance with the prompt payment regulations at 5 CFR part 1315.

   (7) Additional interest penalty.

    (i) The designated payment office will pay a penalty amount, calculated in accordance with ttie prompt payment
regulations at 5 CFRpart 1315 in addition to the interest penalty amount only if--

     (A) The Government owes an interest penalty orS1 or more;

      03) The designated payment office does not pay the interest penalty within 10 days aRer the date the invoice amount
is paid; and

                                                                                                             C-7
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      (C) The Contractor makes a written demand to the designated payment office for additional penalty payment, in
 accordance with paragraph (a)(7)(ii) of this clause, postmarked not later than 40 days after the invoice amount is paid.

   (ii)(A) The Contractor shall support written demands for additional penalty payments with the following data. The
Government will not requestany additional data. The Contractor shall--

       (1) Specifically assert that late payment interest is due under a specific invoice, and request payment of ai! overdue
late payment interest penalty and such additional penalty as may be required;

       (2) Attach a copy of the invoice on which the unpaid late payment interest is due; and

       (3) State that payment of the principal has been received, including the date of receipt.

      (13) If there is no postmark or the postmark is illegible--

     (1) The designated payment office that receives the demand will annotate it with the date of receipt, provided the
demand is received on or before the 40th day after payment was made; or

       (2) If the designated payment office fails to make the required annotation, the Government wilt determine the
demand’s validity based on the date the Contractor has placed on the demand, provided such date is no later than the 40th
day after payment was made.

   (iii) The additional penalty does not apply to payments regulated by other Government regulations (e.g., payments
under utility contracts subject to tariffs and regulation).

  (b) Contract financing payment. If this contract provides for contract financing, the Government will make contract
financing payments in accordance with the applicable contract financing clause.

 (c) Fast payment procedure due dates. If this contract contains the clause at 52.213-!, Fast Payment Procedure,
payments will be made within 15 days after the date of receipt of the invoice.

  (d) Overpayments. If the Contractor becomes aware of a duplicate contract financing or invoice payment or that the
Government has otherwise overpaid on a contract financing or invoice payment, the Contractor shall immediately notify
the Contracting Officer and request instructions for disposition of the overpayment.




 C,5 INVOICES
  An invoice is a written request for payment under this contract for supplies delivered or for services rendered. Payment
of invoices submitted under this contract shall be made in accordance v, dth the terms and conditions of the Prompt
Payment clause and in accordance with the provisions of other clauses in this contract. Failure or refusal to provide the
following information on all invoices submitted under this contract may result in the invoice being considered improper
for payment in accordance with the Prompt Payment clause. In order to be proper, an invoice must inetude, as applicable,
the following:

   a. GENERAL INFORMATION

TWO (2) INVOICE PACKETS SIft.ALL BE PREPARED AND SUBMITTED AS FOLLOWS:

THE FIRST INVOICE PACKET SHALL BE SENT TO:


                                                                                                               C-8
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FEMA

LOGISTICS EMERGENCY HOUSING PROGRAM

ATTN: JAMES KACZOROWSKI

500 C STREET S.W. ROOM 254

WASHINGTON, D.C. 2(}472


 AND CONTAIN THE FOLLOWING:

t. A cover letter stating how many Certificates of Origin are contained in the packet.

2. Original Certificates of Ori.g-in/Title made out to "FEMA".

3. Warranty Information.

4. An invoice containing the following information:

    a. Name of Contractor

    b. Invoice date

    o. Contract number (including order number, if any), contract line item number, contract description of supplies or
services, quantity, contract unit of measure and unit price, and extended total

   d. Shipment number and date of shipment (bill-of-lading number and weight of shipment will be shown for shipments
on Government bills of lading).

    e. Name, title, phone number and complete mailing address of responsible Official who can be contacted in the event
of an improper invoice, if there are questions, or additional information is needed by this agency to process payment.

   f. The invoice should be itemized and numbered for each unit containing the following information on each unit (no
more than 20 units per page of the invoice): Unit Manufacturer, Make and Model, VIN#, and price for each unit.

    g. Any other information or documentation required by other provisions of the Contract (such as evidence of
shipment).

THE SECOND ]]q-VOICE PACKET SHALL BE SENT TO:

FEMA

DISASTER FINANCE CENTER, BLDG 708

ATTN: VENDOR PAYMENTS

P,O. BOX 800

BEILR.¥V[LLE, VA 22611

AND CONTAIN THE FOLLOWING:
                                                                                                       C-9
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 An invoice containing the following infomaation:

     a. Name of Contractor

    b. Invoice date

    c. Contract number (including order number, if any), contract line item number, contract description of supplies or
services, quantity, contract unit of measure and unit price, and extended total.

    d. Shipment number and date of shipment (bill-of-lading number and weight of shipment will be shown for shipments
on Goverrtrnent bills of lading).

     e. Name, title, phone number and complete mailing address of responsible Official who can be contacted in the event .
of an improper invoice, if there are questions, or additional information is needed by this agency to process payment.

   £ The invoice should be itemized and numbered for each unit containing the following information on each unit (no
more than 20 units per page of the invoice): Unit Manufacturer, Make and Model, VIN#, and price for each unit.

    g. Any other information or documentation required by other pr.ovisions of the Contract (such as evidence of
shipment).




   b. ELECTRONIC FUNDS TRANSFER (EFT) INFORMATION


     1. The contractor should include the EFT information set forth below on all invoices submitted for payment under
this contract. Failure to provide the information or failure to notify this agency of changes to this information may result
in delays in payments and/or rejection of the invoice in accordance with the Prompt Payment clause of this contract. The
following EFT information should be submitted on each invoice:

     (a) Routing Transit Number (RTN) a" The contractor shall provide the current 9-digit RTN of the payee’s bank

     (b) Payee’s account number

     (c) Contractor’s Tax Identification Number (TIN)

     (The EFT information submitted must be that of the contractor unless there is an official Assignment of Claims on
file with the payment office,)

    If at any time during the term of this contract, the contractor changes any EFT information, (i.e. financial agent, RTN,
account number, etc,) the new EFT information must replace the old EFT information on subsequent invoices submitted
under this contract.

     To avoid delays in processing invoices, the contractor must also submit written notification of EFT information
changes to the office designated in this award document as soon as the new information is known to the contractor. This
notification must be in writing and signed by the individual authorized by the contractor to make such changes.




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  C.6 52.249-8 DEFAULT (FIXED-PRICE SUPPLY AND SERVICE)
       (A.PR 1984)

   (a) (1) The Government may, subject to paragraphs (c) and (d) below, by written notice of default to the Contractor,
 terminate this contract in whole or in part if the Contractor fails to--

     (i) Deliver the supplies or to perform the services within the time specified in this contract or any extension;

     (ii) Make progress, so as to endanger performance of this contract (but see subparagraph (a)(2) below); or

     (iii) Perform any of the other provisions of this contract (but see subparagraph (a)(2) below).

   (2) The Government’s right to terminate this contract under subdivisions (I)(ii) and (1)(iii) above, may be exercised if
the Contractor does not cure such failure within 10 days (or more if authorized in writing by the Contracting Officer) after
receipt of the notice from the Contracting Officer specifying the failure.

  (b) If the Government terminates this contract in whole or in part, it may acquire, under the terms and inthe manner the
Contracting Officer considers appropriate, supplies or services similar to those terminated, and the Contractor will be
liable to the Government for any excess costs for those supplies or services. However, the Contractor shall continue the
work not terminated.

  (e) Except for defaults of subcontractors at any tier, the Contractor shall not be liable for any excess costs if the failure
to perform the contract arises from causes beyond the control and without the fault or negligence of the Contractor.
Examples of such causes include (1) acts of God or of the public enemy, (2) acts of the Goverrm~nt in either its sovereign
or contractual capacity, (3) fires, (4) floods, (5) epidemics, (6) quarantine restrictions, (7) strikes, (8) freight embargoes,
and (9) unusually severe weather. In each instance the failure to perform must be beyond the control and without the fault
or negligence of the Contractor.

  (d) If the failure to perform is caused by the default of a subcontractor at any tier, and if the cause of the default is
beyond the control of both the Contractor and subcontractor, and without the fault or negligence o f either, the Contractor
shall not be liable for any excess costs for failure to perform, unless the subcontracted supplies or services were obtainable
from other sources in sufficient time for the Contractor to meet the required delivery schedule.

  (e) If this contract is terminated for default, the Government may require the Contractor to transfer.title and deliver to
the Government, as directed by the Contracting Officer, any (1) completed supplies, and (2) partially completed supplies
and materials, parts, tools, dies, jigs, fixtures, ptans, drawings, information, and contract rights (collectively referred to as
"manufacturing materials" in this clause) that the Contractor has specifically produced or acquired for the terminated
portion of this contract. Upon direction of the Contracting Officer, the Contractor shall also protect and preserve property
in its possession in which the Government has an interest.

  (f) The Govemme.nt shall pay contract price for completed supplies delivered and accepted. The Contractor and
Contracting Officer shall agree on the amount of payment for manufacturing materials delivered and accepted and for the
protection and preservation of the property. Failure to agree will be a dispute under the Disputes clause. The Government
may withhold from these amounts any sum the Contracting Officer determines to be necessary to protect the Government
against loss because of outstanding liens or claims of former lien holders.

  (g) If, after termination, it is determined that the Contractor was not in default, or that the default was excusable, the
rights and obligations of the parties shall be the same as if the termination had been issued for the convenience of the
Government.

 (h) The rights and remedies of the Government in this clause are in addition to any other rights and remedies provided
by law or under this contract.


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 C.7 HSAR 3052.209-70 PROHIBITION ON CONTRACTS WITH CORPORATE EXPATRIATES
      (I~EC 2003)

  (a) Prohibitions.

   Section 835 of Public Law 107-296, prohibits the Department of Homeland Security from entering into any contract
with a foreign incorporated entity after November 25, 2002, which is treated as an inverted domestic corporation as
defined in this clause.

   The Secretary shall waive the prohibition with respect to any specific contract if the Secretary determines that the
waiver is required in the interest of homeland security, or to prevent the loss of any jobs in the United States or prevent
the Government from incurring any additional cost~ that otherwise would not occur.

  (b) Definitions. As used in this clause:
   Expanded Affiliated Group means an affiliated group as defined in section 1504(a) of the Internal Revenue Code of
1986 (without regard to section 1504(b) of such Code), except that section 1504 of such Code shall be applied by
substituting ’more than 50 percent’ for "at least 80 percent’ each place it appears.

   Foreign Incorporated Entity means any entity which is, or but for subsection (b) of section 835 of the Homeland
Security Act, Public Law !07-296, would be, treated as a foreign corporation for purposes of the Internal Revenue Code
of 1986.

   Inverted Domestic Corporation. A foreign incorporated entity shall be treated as an inverted domestic corporation if,
pursuant to a plmx (or a series of related transactions)--

    (1) The entity completes after November 25, 2002, the direct or indirect acquisition of substantia!ly all of the
properties held directly or indirectly by a domestic corporation or substantially all of the properties constituting a trade or
business of a domestic partnership;

    (2) After the acquisition at least 80 percent of the stock (by vote or value) of the entity is held-

     (i) In the ease of an acquisition with respect to a domestic corporation, by former shareholders of the domestic
corporation by reason of holding stock in the domestic corporation; or

     (ii) In the case of an acquisition with respect to a domestic partnership, by former partners of the domestic
partnership by reason of holding a capital or profits interest in the domestic partnership; and

     (3) The expanded affiliated group which after the acquisition includez the entity does not ha’ce substantial business
activities in the foreign country in which or under the law of which the entity is created or organized when compared to
the total business activities of such expanded affiliated group.

     Person, domestic, and foreign have the meanings given such terms by paragraphs (1), (4), and (5) of section 7701(a)
of the Internal l~evenue Code of 1986, respectively.
  (c) Special rules. The following definitions and special rules shall apply when determining whether a foreign
incorporated entity should be treated as an inverted domestic corporation.

   (1) Certain stock disregarded. For the purpose of treating a foreign incorporated entity as an inverted domestic
corporation these shall not be taken into account in determining ownership:

    (i) stock held by members of the expanded affiliated group which includes the foreign incorporated entity; or


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    (ii) stock of such entity which is sold in a public offering related to the acquisition described in subsection (b)(1) of
Section 83 5 of the Homeland Security Act, Public Law 107-296.

   (2) Plar~ deemed in certain cases. If a foreign incorporated entity acquires directly or indirectly substantially all of the
properties of a domestic corporation or partnership during the 4- year period beginning on the date which is after the date
ofenaetraent of this Act and which is 2 years before the ownership requirements of subsection (b)(2) are met, such actions
shall be treated as pursuant to a plan.

   (3) Certain transfers disregarded. The transfer of properties or liabilities (including by contribution or distribution)
shall be disregarded if such transfers are part of a plan a principal purpose of which is to avoid the purposes of this
section.

  (d) Special rule for related partnerships. For purposes of applying section 83509) of Public Law 107-296 to the
aequisitiont of a domestic partnership, except as provided in regulations, all domestic partnerships which are under
common control (within the meaning of section 482 of the Internal Revenue Code of 1986) shall be treated as a
partnership.

  (e) Treatment of Certain Rights,

   (1) Certain rights shall be treated as stocks to the extent necessary to reflect the present value of all equitable interests
incident to the transaction, as follows: (i) Warrants; (ii) Options; (iii) Contracts to acquire stock; (iv) Convertible debt
instruments; (v) Others similar interests.
   (2) Ri’ghts labeled as stocks shall not be treated as stocks whenever it is deemed appropriate to do so to reflect the
present value of the transaction or to disregard transactions whose recognition would defeat the purpose of section 835.

  (f) Disclosure. By signing and submi~ng its offer, an offeror under this solicitation represents that it not a foreign
incorporated entity that should be treated as an inverted domestic corporation pursuant to the criteria of Section 835 of the
Homeland Security Act, Public Law 107:-296 of November 25, 2002.

  (g) If a waiver has been granted, a copy of the approved waiver shall be attached to the bid or proposal.



 C.8 COMMERCIAL WARRANTY

 Notwithstanding the provisions of the "Inspection" clause of this. contract, the Contractor agrees that the items delivered
under this contract shall be covered by the same warranties as the Contractor customarily offers in connection with the
sale of these items on the commercial market. In the event that differing warranties covering these items are customarily
offered to other purchasers by the Contractor, it is agreed that such warranties shall apply to this contract as are available
to the Contractor’s most favored purchaser. In addition to any other obligations imposed upon the Contractor under any
warranties, and regardless of whether a similar right is customarily offered to other purchasers, the Contractor shall, if so
required by the Government within a reasonable time after the giving of notice of defect in accordance with such
warranties, correct or replace the defective or nonconforming item with all possible speed at the Contractor’s cost,
including shipping costs, not exceeding usual charges, from the delivery point to the Contra¢tor’s plant and return.
 The Contractor shall affix a prominent notice onthe equipment stating that the unit is covered by a warranty by the
Contractor. Complete details of the terms of the warranty shall be documented and provided at the time of acceptance by
the Government.




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 Zo.riing Re~. uir.ements. ~truetural d~ign to be. in.corporated into eachtmit~ .........
 Roof Load Zone:               t Middle
 Thermal (U/O) Zone:                     2
 Wind Zone:                              3
 Structural Design .................    [Must be built for multiple installafi0~and r~movals.
 Size. and Co..nfiguration
                                        Model: FEMA All-Electric Manufactured Home
 Exterior Leng,.th ............. 60 ft (box length) ..................
 Exterior Width                   14 ft (box width)
 Electrieal System- AMPS 200 A. Electrical pan’el i;located in fl~"b~k bedroom on~he ’
                                 righ,t,,,wall be.bind the,,.bedr00m ,door.                           , ......
 Electrical Syst~N..2 Voits        20/240 V
 Furnishing                     Fully Fum.is~d and dinette Set (table and"ehairs) built foc’~ix. -
                                 3Absolutely
                                   (Each bed(0om,
                                              no carpet,,!
                                                  ’ designed
                                                           n the
                                                               for unit.
                                                                    2 i~eopie)F, ully furnish~L , ...........
 Bedrooms
 Bathroom                               1
 Refrigerator                           Yes 18 cubidFo~ Frost Fre~ with’ Freezer
 Range and Oven                         Yes, electric
,,,W"sher                Capaoi Y~S;".’.washer
                                 ....          ..d~d dry~. [ n~t.ineluded.                . ..........
 Air Conditioner                        Yes,, eleetrie.,..,eentra! air (No window Uni~) ......................
Furnace                                 Yes, electric
Microwave                               Yes 1..2 £~b..i.c foot wifl~ O’hild lock ......................
Water Heater                            Yes, Electric, 40 Gal (dual element) quick recovery and’16eated
                                        belfind the kitchen and bathroom. Not behind bedroom wall.
 Exterior Covering                      Vinyl siding,,(,~lor: white or,,,,gff-white) .........
 Smoke Detector                         Yes,. electric wIbattery-baek-up (all b~drooms,"living room,
                                        kitchen, batl)room, .and hgllways) .....................
Fire Extinguisher                       Yes
Floor Plan                             "Each home must Use’the following basic floor plani B~ginning
                                        with the front of the unit and working toward the rear, the layout
                                        shall be:
                                             ~   Bedroom #3: Size: 8x!3 Approximate
                                             ¯   Bedroom #2: Size: 7x9 Approximate
                                             ¯   Living Room
                                             ¯   Kitohen~ining Room
                                             ¯   Furnace/Water Heater/Plumbing Chase
                                             ~   Laundry~athroom
                                             .   Bedroom (Master): Size: 9x13 Approximate

                                        Note: All hallways sha!l.be 42"wide and all doorways 36" wide.
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                                                                                              OCTOBER 2005
            ~unday                            Monday                 !           Tug,day        I            W~n~sda~                                      Thursday                                Friday                      ~                  S~urda~




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                                     12 Homes                             12 Homes                   1 2 Homes i 1 2 Homes                                                        1 2 Homes                                         12 Homes
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    23                               24 13 Homes i 25                                               26                                       } 27                               ! 28                                           : 29
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                                                                                                           November 2005
!                   S~n~ay                                            ~o~day                      Tuesday              -I        W.~dn~sday                            Thursday                                            Friday’                                      ~a~urd(~y

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~                                                      14 Homes                           14 Homes                       ’ 14 Homes                       Thanksgiving l 4 Homes                                                                              14 Homes
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} 27                                                ~ 28                                ~ 29                             ~30
i                                                      14 Homes                         } t 4 Homes                      ~ 14 Homes
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